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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.                              CASE NO.: 15-20216-CR-GAYLES

  LAZARO NUNEZ-MARTINEZ,

        Defendant.
                                   /

                DEFENDANT’S SENTENCING MEMORANDUM
        COMES NOW the Defendant LAZARO NUNEZ-MARTINEZ by and through

  his undersigned counsel and for his memorandum in support of his upcoming

  sentencing would state as follows:

        1. That on September 14, 2015, the defendant appeared before this court and

  entered a guilty plea to both counts of the indictment which generally charged him

  with Hobbs Act robbery and brandishing a firearm in furtherance of a crime of

  violence. The plea was entered pursuant to a written plea agreement with the

  government. (DE #36)

        2. After accepting the defendant’s guilty plea, this court set sentencing for this

  Monday, November 23, 2015 at 10:00 a.m. (DE #38)

        3. The defendant, who has no prior criminal convictions and zero criminal

  history points (see PSI at ¶26) is facing a guideline sentence for the robbery counts

  of 24-30 months (Level 17 and see ¶62 of the PSI) and a mandatory seven (7) year

  consecutive sentence for brandishing of the firearm. In light of the factors set forth

  below, the defendant would request a downward variance from the applicable
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  guideline range as to Count I.

                                   Request for Variance

                                   Variances Generally

        In Pepper v. United States 131 S. Ct. 1229 (2011), the United States Supreme

  Court emphasized the need for individualized sentencing based not only on the crime

  but on the defendant. In United States v. Booker, 543 U.S. 220 (2005), the Supreme

  Court held that the sentencing guidelines are advisory only, not mandatory. The other

  factors set forth in 18 U.S.C. §3553 (a) must also be considered in fashioning the

  appropriate sentence. These factors include (1) the nature and circumstances of the

  offense and the history and characteristics of the defendant; (2) the need for the

  sentence imposed–(A) to reflect the seriousness of the offense, to promote respect for

  the law, and to provide just punishment for the offense; (B) to afford adequate

  deterrence to criminal conduct; © to protect the public from further crimes of the

  defendant; and (D) to provide the defendant with needed educational or vocational

  training, medical care, or other correctional treatment in the most effective manner;

  (3) the kinds of sentences available; (4) the advisory guideline range; (5) any

  pertinent policy statements issued by the Sentencing Commission; (6) the need to

  avoid unwarranted sentence disparities; and (7) the need to provide restitution to any

  victims of the offense. Booker, 125 S. Ct. at 764; see also Gall v. United States, 552

  U.S. 38 (2007) ; Kimbrough v. United States, 552 U.S. 85 (2007).

        After Booker, the sentencing Guidelines are advisory, and the sentencing court,

  in its own discretion, can move below the advisory Guidelines range without a motion

  for downward departure as long as the resulting sentence is reasonable. United States
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  v. Williams, 435 F.3d 1350 (11th Cir. 2006)

         In rendering the Sentencing Guidelines advisory, Booker established a new

  independent limit on sentences that may be imposed. The primary sentencing

  mandate of §3553(a) states that a court must impose a minimally sufficient sentence

  to achieve the statutory purposes of punishment – justice, deterrence, and

  rehabilitation are set forth in the beginning sentence where it states that the court shall

  impose a sentence sufficient, but not greater than necessary, to comply with the

  purposes set forth in 18 U.S.C. §3553(a)(2).

         “Just because a consideration was improper under the mandatory Guidelines

  regime does not mean that it is necessarily improper under the advisory Guidelines

  regime.” United States v. Garcia, 497 F.3d 964, 971-72 (9th Cir. 2007). Therefore,

  a sentencing judge could well conclude that a . . . discouraged factor did not quite

  justify a departure from the guidelines . . . but might justify a somewhat shorter

  sentence under a reasonableness standard. United States v. Thurston 456 F.3d 211 (1st

  Cir. 2006)

                      History and Characteristics of the Defendant



         One of the crucial factors for this court to consider in weighing the

  reasonableness of the sentence to be imposed as to Count I is the history and

  characteristics of the defendant. The defendant, who is twenty (20) years of age,

  emigrated from Cuba less than two years prior to the commission of this offense.

         He comes from a very low socioeconomic in Havana, Cuba having been

  primarily raised by his grandparents since he was five years old. After his father
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  emigrated to the United States, he was unable to be supported by his mother. When

  he came to the United States, he lived in a trailer in north Dade and was employed in

  menial jobs.

        As noted by the defendant, when he was a child in Cuba he suffered from what

  appears to have been epileptic seizures as a child. Though he has not suffered a

  seizure since age 11, since these seizures occurred during the defendant’s formative

  years has left him mentally challenged.

        According to the defendant’s father in ¶34 of the PSI, as a result of seizures

  that the defendant has suffered as a child has left the defendant “with significant

  learning impairments and delays.” The defendant’s father characterizes the defendant

  as having the learning and comprehension level of a pre-kindergarten student.

  Further, the defendant’s father related at ¶52 of the PSI that the defendant attended

  the equivalent of a “special needs” school in Cuba. The special needs education in

  Cuba is vastly different than in the United States as it is more vocational than

  educational. His employment history in the United States has been more menial than

  skilled employment.

        As a result of the defendant’s medical and psychological history, he is currently

  being treated at FDC as well. While the defendant describes his condition as

  “anxiety,” officials at FDC have revealed that the defendant is being treated with

  mirtazapine. (See PSI at ¶46)

        According to www.drugs.com Mirtazapine is an antidepressant. It affects

  chemicals in the brain that may become unbalanced and cause depression. In

  addition, it is classified as “being used to treat major depressive disorders.” Some
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  of the side effects of this drug include that “some young people have thoughts about

  suicide when first taking an antidepressant. Your doctor will need to check your

  progress at regular visits while you are using mirtazapine. Your family or other care

  givers should also be alert to changes in your mood or symptoms.” Combining this

  with the defendant’s continued incarceration show the seriousness of the defendant’s

  mental issues.

          This court will sentence the defendant to a term of mandatory term of

  incarceration as to Count 2 of no less than seven (7) years for the brandishing of the

  firearm. In light of the defendant’s history and characteristics combined with his

  mental health history, this court should vary downward from the applicable guideline

  range as to Count 1.

                         Credit for Time Spent in State Custody

          According to the docket and the report commencing criminal action (DE #6)

  the defendant was taken into custody by the United States Marshal on April 9, 2015

  and under normal circumstances he would be given credit for time served from that

  date.

          However, as correctly indicated by ¶27 of the PSI, he was arrested by state and

  local authorities for the identical conduct on March 11, 2015. He remained

  incarcerated in the Dade County Jail until a writ was issued for him when the federal

  prosecution commenced for the identical conduct. (DE #3, 4)

          Therefore, the defendant should be entitled to credit for time served from

  March 11, 2015 (his date of arrest for the identical conduct) and not April 9, 2015

  (the date of his initial appearance).
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          WHEREFORE in light of the foregoing and for the reasons stated herein this

  court should grant a downward variance from advisory guideline range as to Count

  1.

                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was

  electronically filed with the Clerk of Court by using the CM/ECF system which will

  send a notice of electronic filing to all counsel of record this 3rd day of November

  2015.

                                        Respectfully submitted,

                                        VICTOR E. ROCHA, P.A.
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